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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA


LIGTEL COMMUNICATIONS, INC.,

                               Plaintiff,

                      v.
                                                            Case No. 1:20-cv-00037
BAICELLS TECHNOLOGIES INC.;
BAICELLS TECHNOLOGIES NORTH AMERICA
INC.,

                               Defendants.



                         MOTION FOR PRELIMINARY INJUNCTION

       Plaintiff LigTel Communications, Inc. respectfully moves this Court, pursuant to Federal

Rule of Civil Procedure 65(a) and Local Rule 65-1(a), for immediate injunctive relief to prevent

ongoing violations of the Lanham Act, federal trade secrets law, and Indiana state law by

Defendants BaiCells Technologies Inc. and BaiCells Technologies North America Inc.

(collectively, “BaiCells”). BaiCells is persistently holding itself out as LigTel by using LigTel’s

Home Network Identity number, which identifies the origin of a wireless communication signal,

without authorization.     BaiCells has also misappropriated and threatened to misappropriate

LigTel’s trade secrets. LigTel is simultaneously filing a memorandum of law supporting this

motion.
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Dated: January 21, 2020               Respectfully submitted,

                                      /s/ Michael J. Nelson_____

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                                      Michael J. Nelson
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                                      Attorneys for Plaintiff LigTel Communications,
                                      Inc.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 21, 2020, I caused the foregoing document to be filed

electronically with the Clerk of the Court using the CM/ECF system, and sent a copy of the

foregoing document to the following defendants at the following addresses:

       BaiCells Technologies Inc.
       c/o Registered Agent Solutions, Inc.
       9 E. Loockerman Street, Suite 311
       Dover, DE 19901

       BaiCells Technologies North America Inc.
       c/o Registered Agent Solutions, Inc.
       1701 Directors Blvd., Suite 300
       Austin, TX 78744


DATED: January 21, 2020

                                                    /s/ Gabriel K. Gillett
